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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


 LEADERS OF A BEAUTIFUL STRUGGLE
 et al.,

                Plaintiffs,
                                                             Civil Action No. 20-929
        v.

 BALTIMORE POLICE DEPARTMENT
 et al.,

                Defendants.


                          DECLARATION OF ALEXIA RAMIREZ

       I, Alexia Ramirez, in accordance with 28 U.S.C. §1746 declare as follows:

       1.      I am an attorney at the American Civil Liberties Union Foundation and co-

counsel for Plaintiffs Leaders of a Beautiful Struggle, Erricka Bridgeford, and Kevin James in

the above-numbered action.

       2.      I submit this declaration in support of the Plaintiffs’ Memorandum of Law in

Support of Their Motion for a Temporary Restraining Order & a Preliminary Injunction.

       3.      The following Exhibits, attached hereto as Exhibits A to E and filed on April 9,

2020, represent true and correct copies, or true and correct copies of excerpts of such documents:
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No.                                             Exhibit

      BPD, Community Education Presentation: Aerial Investigation Research (AIR) Pilot
A
      Program (March 2020) (“BPD Presentation”)

      Professional Services Agreement, Aerial Investigation Research (“AIR”) (“BPD/PSS
B
      Contract”)

C     PSS, Hawkeye II, https://www.pss-1.com/hawkeye-ii (quotations from various web pages)

      Yves-Alexandre de Montjoye et al., Unique in the Crowd: The Privacy Bounds of Human
D
      Mobility, 3 Sci. Reps. 1376 (2013), https://doi.org/10.1038/srep01376

      PSS, NightHawk II, https://www.pss-1.com/nighthawk-ii (discussing camera that provides
E
      “affordable nighttime, wide area surveillance” including in “[p]artial moonlight”)



        I declare under penalty of perjury that the foregoing is true and correct. Executed on

April 9, 2020.

                                                            _____________________________
                                                            Alexia Ramirez
